                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI


RURAL COMMUNITY WORKERS ALLIANCE
and JANE DOE,
                  Plaintiffs,

       vs.                                                 Case No. 5:20-cv-06063-DGK

SMITHFIELD FOODS, INC. and SMITHFIELD
FRESH MEATS CORP.,
                      Defendants.


   DEFENDANTS’ MOTION TO DISMISS, OR IN THE ALTERNATIVE TO STAY,
    BASED ON PRIMARY JURISDICTION AND/OR BURFORD ABSTENTION

       Come now Defendants, Smithfield Foods, Inc. and Smithfield Fresh Meats Corp., by and

through counsel, and move this Court to dismiss Plaintiffs’ Complaint, or in the alternative stay

this proceeding, for the reasons set forth in Defendants’ Suggestions in Support.



                                        SMITHFIELD FOODS, INC. and
                                        SMITHFIELD FRESH MEATS CORP.


                                        By: /s/ Jean Paul Bradshaw II
                                           Jean Paul Bradshaw II (#31800)
                                           Mara Cohara (#51051)
                                           Lathrop GPM LLP
                                           2345 Grand Boulevard, Suite 2200
                                           Kansas City, Missouri 64108
                                           Telephone: (816) 460-5507
                                           Facsimile: (816) 292-2001
                                           jeanpaul.bradshaw@lathropgpm.com
                                           mara.cohara@lathropgpm.com

                                            Alexandra B. Cunningham (admitted PHV)
                                            Hunton Andrews Kurth LLP
                                            Riverfront Plaza, East Tower
                                            951 East Byrd Street
                                            Richmond, Virginia 23219-4074
                                            Telephone: (804) 787-8087
                                            Facsimile: (804) 788-8218


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acunningham@HuntonAK.com

Susan F. Wiltsie (admitted PHV)
Hunton Andrews Kurth LLP
2200 Pennsylvania Avenue, NW
Washington, District of Columbia 20037
Telephone: (202) 955-1500
Facsimile: (202) 778-2201

Counsel for Defendants




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of April, 2020, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which will send electronic notification of
the same to the following counsel of record:
        Gina Chiala (#59112)
        Heartland Center for Jobs and Freedom, Inc.
        4047 Central Street
        Kansas City, MO 64111
        Telephone: (816) 278-1092
        Facsimile: (816) 278-5785
        ginachiala@jobsandfreedom.org

        David S. Muraskin (admitted pro hac vice)
        Karla Gilbride (admitted pro hac vice)
        Stevie K. Glaberson (admitted pro hac vice)
        Public Justice
        1620 L. Street, NW, Suite 630
        Washington, DC 20036
        Telephone: (202) 797-8600
        Facsimile: (202) 232-7203
        dmuraskin@publicjustice.net
        kgilbride@publicjustice.net
        sglaberson@publicjustice.net

       I hereby certify that I will send copies of the foregoing via electronic mail to Plaintiffs’

counsel who have pending motions to appear pro hac vice:

       David Seligman (pro hac vice pending)
       Juno Turner
       Towards Justice
       1410 High Street, Suite 300
       Denver, CO 80218
       Telephone: (720) 441-2236
       Facsimile: (303) 957-2289
       david@towardsjustice.org
       juno@towardsjustice.org

       Counsel for Plaintiffs


                                              /s/ Jean Paul Bradshaw II
                                              An Attorney for Defendants




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